        Case 1:21-cr-00399-RDM Document 159 Filed 08/08/23 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA
                                                             No. 21-cr-399 (RDM)
              Plaintiff,
  v.

  ROMAN STERLINGOV

              Defendant.




NOTICE OF EXPERT REPORT FOR DEFENSE EXPERT JONELLE STILL OF
                       CIPHERTRACE
       This filing supplements Mr. Sterlingov’s Notice of Supplemental Expert Witness

Disclosure for Jonelle Still filed on August 7, 2023 (Dkt. 157). The attached Expert Report by

Ms. Still of Ciphertrace, and its Exhibits, were sent to both the Court and the Government via

email contemporaneously with the filing.

       On August 8, 2023, the Court instructed undersigned counsel to file this Expert Report

via ECF. Accordingly, Ciphertrace’s Expert Report is attached.
        Case 1:21-cr-00399-RDM Document 159 Filed 08/08/23 Page 2 of 3




Dated: August 8, 2023
New York, New York


                                  Respectfully submitted,

                                  /s/ Tor Ekeland
                                  Tor Ekeland (NYS Bar No. 4493631)
                                  Tor Ekeland Law, PLLC
                                  30 Wall Street, 8th Floor
                                  New York, NY
                                  t: (718) 737 - 7264
                                  f: (718) 504 - 5417
                                  tor@torekeland.com

                                  /s/ Michael Hassard
                                  Michael Hassard (NYS Bar No. 5824768)
                                  Tor Ekeland Law, PLLC
                                  30 Wall Street, 8th Floor
                                  New York, NY
                                  t: (718) 737 - 7264
                                  f: (718) 504 - 5417
                                  michael@torekeland.com

                                  Appointed Counsel for Defendant Roman Sterlingov
        Case 1:21-cr-00399-RDM Document 159 Filed 08/08/23 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of August 2023, the forgoing document was filed with

the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                          s/ Tor Ekeland

U.S. Department of Justice
District of Columbia
555 Fourth St. N.W.
Washington, D.C. 20530

Catherine Pelker
Catherine.Pelker@usdoj.gov

Christopher Brown
Christopher.Brown6@usdoj.gov

Jeffrey Pearlman
Jeffrey.Pearlman@usdoj.gov
